Case 4:16-cv-00052-RSB-CLR Document 66-11 Filed 12/07/16 Page 1 of 12

  
 

 

    

 

 

 

 

Home | Medicare | Medicaid | CHIP | About CMS | Regulations & Guidance | Research, Statistics, Data & Systems | Outreach & Education | Tools

 

i j
Peaple with Medicare & Medicaid | Questions | Careers } Newsroom | Contact CHS | Acronyms i Help EAEmail Li) Print

Draft ICD-10-CM/PCS MS-DRGv32 Definitions Manual eee Bp

MDC 8 Diseases & Disorders of the Musculoskeletal System & Connective Tissue
Back and Neck Procedures, Except Spinal Fusion, or Disc Devices/Neurostimulators
Page 1 of 2

 

 

 

 

 

 

 

 

 

Back and Neck Procedures, Except Spinal Fusion, or Disc
Devices/Neurostimulators
Back & Meats Except Disc | Disc Devices Meer ostimurator McclCC|DRG
Yes Yes 518
No Yes 518
No No Yes 518
Yes No No No jYes|519
Yes No No No }No{/520

 

 

 

 

 

 

 

DRG 518 BACK AND NECK PROCEDURES EXCEPT SPINAL FUSION WITH MCC OR
DISC DEVICE OR NEUROSTIMULATOR

DRG 519 BACK AND NECK PROCEDURES EXCEPT SPINAL FUSION WITH CC

BACK AND NECK PROCEDURES EXCEPT SPINAL FUSION WITHOUT
DRG 520 cc/Mcc

BACK & NECK EXCEPT DISC DEVICES
OPERATING ROOM PROCEDURES

0O5T0ZZ Destruction of Spinal Meninges, Open Approach

005T3ZZ Destruction of Spinal Meninges, Percutaneous Approach

005T4ZZ Destruction of Spinal Meninges, Percutaneous Endoscopic Approach

OO5WO02Z siODestruction of Cervical Spinal Cord, Open Approach

OO5W32Z Destruction of Cervical Spinal Cord, Percutaneous Approach

OO5W42Z Destruction of Cervical Spinal Cord, Percutaneous Endoscopic Approach

OO5X0ZZ = Destruction of Thoracic Spinal Cord, Open Approach

OO5X3ZZ = Destruction of Thoracic Spinal Cord, Percutaneous Approach

005X4ZZ Destruction of Thoracic Spinal Cord, Percutaneous Endoscopic Approach

O05Y0ZZ = Destruction of Lumbar Spinal Cord, Open Approach

OO5Y32Z Destruction of Lumbar Spinal Cord, Percutaneous Approach

oOo5Y422 Destruction of Lumbar Spinal Cord, Percutaneous Endoscopic Approach

oogsTOO0Z Drainage of Spinal Meninges with Drainage Device, Open Approach

oosTOoZzx Drainage of Spinal Meninges, Open Approach, Diagnostic

oosTOZZ Drainage of Spinal Meninges, Open Approach

009T30Z = Drainage of Spinal Meninges with Drainage Device, Percutaneous guess ee
Approach EXHIBIT

OO9ST3SZX ~~ Drainage of Spinal Meninges, Percutaneous Approach, Diagnostic /

009T32Z Drainage of Spinal Meninges, Percutaneous Approach

 

 
Case 4:16-cv-00052-RSB-CLR Document 66-11 Filed 12/07/16 Page 2 of 12

009T402

OO9T42X

O009T42Z
009U00Z
oo0suozx
009U0Z2Z
oo9wo0o0z
ooswozx
oogswozz
o09W30Z

O09WS3ZX
009gWS32ZZ
oo9W402Z

oooW42x

oosw4zz
oosxo00z
o09xX0ZX
009X022
009X302

009X32ZX
009X32Z
009X40Z

009X42ZX

009X422
oo9Yo0z
oo9gYvozx
a09gY0ZZ
o09gY302

009Y32ZX
O00SY3ZZ
oo09gY40Z

oo9gY42Zzx

oo9gY42ZZ
OOBTOZX
OOBTOZZ
OOBT3ZX
OOBT32Z2Z

Drainage of Spinal Meninges with Drainage Device, Percutaneous
Endoscopic Approach

Drainage of Spinal Meninges, Percutaneous Endoscopic Approach,
Diagnostic

Drainage of Spinal Meninges, Percutaneous Endoscopic Approach
Drainage of Spinal Canal with Drainage Device, Open Approach
Drainage of Spinal Canali, Open Approach, Diagnostic

Drainage of Spinal Canal, Open Approach

Drainage of Cervical Spinal Cord with Drainage Device, Open Approach
Drainage of Cervical Spinal Cord, Open Approach, Diagnostic

Drainage of Cervical Spinal Cord, Open Approach

Drainage of Cervical Spinal Cord with Drainage Device, Percutaneous
Approach

Drainage of Cervical Spinal Cord, Percutaneous Approach, Diagnostic
Drainage of Cervical Spinal Cord, Percutaneous Approach

Drainage of Cervical Spinal Cord with Drainage Device, Percutaneous
Endoscopic Approach

Drainage of Cervical Spinal Cord, Percutaneous Endoscopic Approach,
Diagnostic

Drainage of Cervical Spinal Cord, Percutaneous Endoscopic Approach
Drainage of Thoracic Spinal Cord with Drainage Device, Open Approach
Drainage of Thoracic Spinal Cord, Open Approach, Diagnostic

Drainage of Thoracic Spinal Cord, Open Approach

Drainage of Thoracic Spinal Cord with Drainage Device, Percutaneous
Approach

Drainage of Thoracic Spinal Cord, Percutaneous Approach, Diagnostic
Drainage of Thoracic Spinal Cord, Percutaneous Approach

Drainage of Thoracic Spinal Cord with Drainage Device, Percutaneous
Endoscopic Approach

Drainage of Thoracic Spinal Cord, Percutaneous Endoscopic Approach,
Diagnostic

Drainage of Thoracic Spinal Cord, Percutaneous Endoscopic Approach
Drainage of Lumbar Spinal Cord with Drainage Device, Open Approach
Drainage of Lumbar Spinal Cord, Open Approach, Diagnostic

Drainage of Lumbar Spinal Cord, Open Approach

Drainage of Lumbar Spinal Cord with Drainage Device, Percutaneous
Approach

Drainage of Lumbar Spinal Cord, Percutaneous Approach, Diagnostic
Drainage of Lumbar Spinal Cord, Percutaneous Approach

Drainage of Lumbar Spinal Cord with Drainage Device, Percutaneous
Endoscopic Approach

Drainage of Lumbar Spinal Cord, Percutaneous Endoscopic Approach,
Diagnostic

Drainage of Lumbar Spinal Cord, Percutaneous Endoscopic Approach
Excision of Spinal Meninges, Open Approach, Diagnostic

Excision of Spinal Meninges, Open Approach }
Excision of Spinal Meninges, Percutaneous Approach, Diagnostic
Excision of Spinal Meninges, Percutaneous Approach 5

 
Case 4:16-cv-00052-RSB-CLR Document 66-11 Filed 12/07/16 Page 3 of 12

OOBT4ZX

OOBT42ZZ

ooBWO0ZX
OOBWO0ZZ
OOBW32X
OOBW32ZZ
OOBW42ZX

OOBW42Z
OOBXO0ZX
OOBX02ZZ
OOBX32ZX
O0OBX322Z
OOBX42ZX

OOBX42Z
OOBY0ZX
OOBYO02ZZ
OOBY3ZX
OOBY32Z
OOBY42X

OOBY42Z
oODTG2ZZ
OODT3ZZ
OGDT4ZZ
OOFU0ZZ
GOFUS3ZZ
OOFU4ZZ
OOFUXZ2Z
OOHUO2Z
OOHUOMZ
OOHU32Z
OOHUSMZ

OS8HU42Z

OOHU4MZ

OOHVO2Z
OOHVOMZ
OOHV32Z
OOHV3MZ

OOHV42zZ

OSHV4MZ

Excision of Spinal Meninges, Percutaneous Endoscopic Approach,
Diagnostic

Excision of Spinal Meninges, Percutaneous Endoscopic Approach
Excision of Cervical Spinal Cord, Open Approach, Diagnostic
Excision of Cervical Spinal Cord, Open Approach

Excision of Cervical Spinal Cord, Percutaneous Approach, Diagnostic
Excision of Cervical Spinal Cord, Percutaneous Approach

Excision of Cervical Spinal Cord, Percutaneous Endoscopic Approach,
Diagnostic

Excision of Cervical Spinal Cord, Percutaneous Endoscopic Approach
Excision of Thoracic Spinal Cord, Open Approach, Diagnostic
Excision of Thoracic Spinal Cord, Open Approach

Excision of Thoracic Spinal Cord, Percutaneous Approach, Diagnostic
Excision of Thoracic Spinal Cord, Percutaneous Approach

Excision of Thoracic Spinal Cord, Percutaneous Endoscopic Approach,
Diagnostic

Excision of Thoracic Spinal Cord, Percutaneous Endoscopic Approach
Excision of Lumbar Spinal Cord, Open Approach, Diagnostic

Excision of Lumbar Spinal Cord, Open Approach

Excision of Lumbar Spinal Cord, Percutaneous Approach, Diagnostic
Excision of Lumbar Spinal Cord, Percutaneous Approach

Excision of Lumbar Spinal Cord, Percutaneous Endoscopic Approach,
Diagnostic

Excision of Lumbar Spinal Cord, Percutaneous Endoscopic Approach
Extraction of Spinal Meninges, Open Approach

Extraction of Spinal Meninges, Percutaneous Approach

Extraction of Spinal Meninges, Percutaneous Endoscopic Approach
Fragmentation in Spinal Canal, Open Approach

Fragmentation in Spinal Canal, Percutaneous Approach
Fragmentation in Spinal Canal, Percutaneous Endoscopic Approach
Fragmentation in Spinal Canal, External Approach

Insertion of Monitoring Device into Spinal Canal, Open Approach
Insertion of Neurostimulator Lead into Spinal Canal, Open Approach
Insertion of Monitoring Device into Spinal Canal, Percutaneous Approach

Insertion of Neurostimulator Lead into Spinal Canal, Percutaneous
Approach

Insertion of Monitoring Device into Spinal Canal, Percutaneous Endoscopic
Approach

Insertion of Neurostimulator Lead into Spinal Canal, Percutaneous
Endoscopic Approach

Insertion of Monitoring Device into Spinal Cord, Open Approach
Insertion of Neurostimulator Lead into Spinal Cord, Open Approach
Insertion of Monitoring Device into Spinal Cord, Percutaneous Approach

Insertion of Neurostimulator Lead into Spinal Cord, Percutaneous
Approach

Insertion of Monitoring Device into Spinal Cord, Percutaneous Endoscopic
Approach

Insertion of Neurostimulator Lead into Spinal Cord, Percutaneous

 
Case 4:16-cv-00052-RSB-CLR Document 66-11 Filed 12/07/16 Page 4 of 12

00JU0ZZ
00JU32Z2Z
00JU4Z2Z
o00JVO0O2ZZ
o0JV32Z2
00IJV42Z
OONTOZZ
OONT3ZZ
OONT42Z
OONW02ZZ
OONW32ZZ
OONW422Z
OONXOZZ
OONX32Z2Z
OONX422Z
OONYOZZ
OONY32Z
OONY422
ooPUuO0OoZz
OOPU02Z
OOPU03Z
OOPUO0IJZ
OOPUOMZ
OOPU30Z
OOPU322Z
O0OPU3S3Z
GCOPU3IZ

OOPU3SMZ
OOPU40Z
OOPU42Z
OOPU43Z
OOPU4IZ

OOPU4MZ

OOPVOMZ
OOPV3MZ

OOPV4MZ

o00QTOzZzZ
00QT3ZZ

Endoscopic Approach

Inspection of Spinal Canal, Open Approach

Inspection of Spinal Canal, Percutaneous Approach

Inspection of Spinal Canal, Percutaneous Endoscopic Approach
Inspection of Spinal Cord, Open Approach

Inspection of Spinal Cord, Percutaneous Approach

Inspection of Spinal Cord, Percutaneous Endoscopic Approach

Release Spinal Meninges, Open Approach

Release Spinal Meninges, Percutaneous Approach

Release Spinal Meninges, Percutaneous Endoscopic Approach

Release Cervical Spinal Cord, Open Approach

Release Cervical Spinal Cord, Percutaneous Approach

Release Cervical Spinal Cord, Percutaneous Endoscopic Approach
Release Thoracic Spinal Cord, Open Approach

Release Thoracic Spinal Cord, Percutaneous Approach

Release Thoracic Spinal Cord, Percutaneous Endoscopic Approach
Release Lumbar Spinal Cord, Open Approach

Release Lumbar Spinal Cord, Percutaneous Approach

Release Lumbar Spinal Cord, Percutaneous Endoscopic Approach
Removal of Drainage Device from Spinal Canal, Open Approach
Removal of Monitoring Device from Spinal Canal, Open Approach
Removal of Infusion Device from Spinal Canal, Open Approach
Removal of Synthetic Substitute from Spinal Canal, Open Approach
Removal of Neurostimulator Lead from Spinal Canal, Open Approach
Removal of Drainage Device from Spinal Canal, Percutaneous Approach
Removal of Monitoring Device from Spinal Canal, Percutaneous Approach
Removal of Infusion Device from Spinal Canal, Percutaneous Approach

Removal of Synthetic Substitute from Spinal Canal, Percutaneous
Approach

Removal of Neurostimulator Lead from Spinal Canal, Percutaneous
Approach

Removal of Drainage Device from Spinal Canal, Percutaneous Endoscopic
Approach

Removal of Monitoring Device from Spinal Canal, Percutaneous
Endoscopic Approach

Removal of Infusion Device from Spinal Canal, Percutaneous Endoscopic
Approach

Removal of Synthetic Substitute from Spinal Canal, Percutaneous
Endoscopic Approach

Removal of Neurostimulator Lead from Spinal Canal, Percutaneous
Endoscopic Approach

Removal of Neurostimulator Lead from Spinal Cord, Open Approach

Removal of Neurostimulator Lead from Spinal Cord, Percutaneous
Approach

Removal of Neurostimulator Lead from Spinal Cord, Percutaneous
Endoscopic Approach

Repair Spinal Meninges, Open Approach
Repair Spinal Meninges, Percutaneous Approach

 
Case 4:16-cv-00052-RSB-CLR Document 66-11 Filed 12/07/16 Page 5 of 12

00QT4zz
oo0gwozz
00QW3Zzz
o00Qw4zz
00Qx0zZ
00QX3ZZ
00QX4zz
ooQgyozz
00QY3ZZ
00QY4ZZ
o0swozz
o00SW3Zz
oosw4zz
00sxozz
00SX3ZZ
00SX42ZZ
oosyozz
00SY3ZZ
o00sY4zz
00uTO7z

OOUTOIZ
GOUTOKZ

OOUT37Z
OOUT3IZ
OOUTSKZ
O0OUT472Z
O0UT4I]Z
OOUT4KZ

ooWU00Z
ooWU02Z
ooWwU032
oowuUosz

OOWUOMZ
OoWUS30Z
OOWUS2Z
OOWU33Z
OOWU3IZ

oOoOWU3MZ
oowu40z

Repair Spinal Meninges, Percutaneous Endoscopic Approach

Repair Cervical Spinal Cord, Open Approach

Repair Cervical Spinal Cord, Percutaneous Approach

Repair Cervical Spinal Cord, Percutaneous Endoscopic Approach
Repair Thoracic Spinal Cord, Open Approach

Repair Thoracic Spinal Cord, Percutaneous Approach

Repair Thoracic Spinal Cord, Percutaneous Endoscopic Approach
Repair Lumbar Spinal Cord, Open Approach

Repair Lumbar Spinal Cord, Percutaneous Approach

Repair Lumbar Spinal Cord, Percutaneous Endoscopic Approach
Reposition Cervical Spinal Cord, Open Approach

Reposition Cervical Spinal Cord, Percutaneous Approach

Reposition Cervical Spinal Cord, Percutaneous Endoscopic Approach
Reposition Thoracic Spinal Cord, Open Approach

Reposition Thoracic Spinal Cord, Percutaneous Approach

Reposition Thoracic Spinal Cord, Percutaneous Endoscopic Approach
Reposition Lumbar Spinal Cord, Open Approach

Reposition Lumbar Spinal Cord, Percutaneous Approach

Reposition Lumbar Spinal Cord, Percutaneous Endoscopic Approach

Supplement Spinal Meninges with Autologous Tissue Substitute, Open
Approach

Supplement Spinal Meninges with Synthetic Substitute, Open Approach

Supplement Spinal Meninges with Nonautologous Tissue Substitute, Open
Approach

Supplement Spinal Meninges with Autologous Tissue Substitute,
Percutaneous Approach

Supplement Spinai Meninges with Synthetic Substitute, Percutaneous
Approach

Supplement Spinal Meninges with Nonautologous Tissue Substitute,
Percutaneous Approach

Supplement Spinal Meninges with Autologous Tissue Substitute,
Percutaneous Endoscopic Approach

Supplement Spinal Meninges with Synthetic Substitute, Percutaneous
Endoscopic Approach

Supplement Spinal Meninges with Nonautologous Tissue Substitute,
Percutaneous Endoscopic Approach

Revision of Drainage Device in Spinal Canal, Open Approach

Revision of Monitoring Device in Spinal Canai, Open Approach

Revision of Infusion Device in Spinal Canal, Open Approach

Revision of Synthetic Substitute in Spinal Canal, Open Approach

Revision of Neurostimulator Lead in Spinal Canal, Open Approach
Revision of Drainage Device in Spinal Canal, Percutaneous Approach
Revision of Monitoring Device in Spinal Canal, Percutaneous Approach
Revision of Infusion Device in Spinal Canal, Percutaneous Approach
Revision of Synthetic Substitute in Spinal Canal, Percutaneous Approach
Revision of Neurostimulator Lead in Spinal Canal, Percutaneous Approach

Revision of Drainage Device in Spinal Canal, Percutaneous Endoscopic
Approach

 
Case 4:16-cv-00052-RSB-CLR Document 66-11 Filed 12/07/16 Page 6 of 12

ooWU42z2
OOWU43Z
oOoWU4IZ
OOWU4MZ

0151022
015142Z
0158022
0158422
015B0Z2Z
015B42ZZ
015R0ZZ
O15R42ZZ
0181022
0181322
0181422
0188022
0188322
0188422
018B02Z2Z
018B322Z
018B42ZZ
018RO0ZZ
018R32Z
O18R42ZZ
OPS304Z

OPS302ZZ
OPS334Z

OPS344Z

OPS34ZZ
OPS3XZZ
OPS4042

OPS402Z
OPS434Z

OPS444Z

OPS44zz
OPS4XZZ
0QS004Z
0Qs00zz

Revision of Monitoring Device in Spinal Canal, Percutaneous Endoscopic
Approach

Revision of Infusion Device in Spinal Canal, Percutaneous Endoscopic
Approach

Revision of Synthetic Substitute in Spinal Canal, Percutaneous Endoscopic
Approach

Revision of Neurostimulator Lead in Spinal Canal, Percutaneous
Endoscopic Approach

Destruction of Cervical Nerve, Open Approach

Destruction of Cervical Nerve, Percutaneous Endoscopic Approach
Destruction of Thoracic Nerve, Open Approach

Destruction of Thoracic Nerve, Percutaneous Endoscopic Approach
Destruction of Lumbar Nerve, Open Approach

Destruction of Lumbar Nerve, Percutaneous Endoscopic Approach
Destruction of Sacral Nerve, Open Approach

Destruction of Sacral Nerve, Percutaneous Endoscopic Approach
Division of Cervical Nerve, Open Approach

Division of Cervical Nerve, Percutaneous Approach

Division of Cervical Nerve, Percutaneous Endoscopic Approach
Division of Thoracic Nerve, Open Approach

Division of Thoracic Nerve, Percutaneous Approach

Division of Thoracic Nerve, Percutaneous Endoscopic Approach
Division of Lumbar Nerve, Open Approach

Division of Lumbar Nerve, Percutaneous Approach

Division of Lumbar Nerve, Percutaneous Endoscopic Approach
Division of Sacral Nerve, Open Approach

Division of Sacral Nerve, Percutaneous Approach

Division of Sacral Nerve, Percutaneous Endoscopic Approach

Reposition Cervical Vertebra with Internal Fixation Device, Open
Approach

Reposition Cervical Vertebra, Open Approach

Reposition Cervical Vertebra with Internal Fixation Device, Percutaneous
Approach

Reposition Cervical Vertebra with Internal Fixation Device, Percutaneous
Endoscopic Approach

Reposition Cervical Vertebra, Percutaneous Endoscopic Approach
Reposition Cervical Vertebra, External Approach

Reposition Thoracic Vertebra with Internal Fixation Device, Open
Approach

Reposition Thoracic Vertebra, Open Approach

Reposition Thoracic Vertebra with Internal Fixation Device, Percutaneous
Approach

Reposition Thoracic Vertebra with Internal Fixation Device, Percutaneous
Endoscopic Approach

Reposition Thoracic Vertebra, Percutaneous Endoscopic Approach
Reposition Thoracic Vertebra, External Approach

Reposition Lumbar Vertebra with Internal Fixation Device, Open Approach
Reposition Lumbar Vertebra, Open Approach

 
Case 4:16-cv-00052-RSB-CLR Document 66-11 Filed 12/07/16 Page 7 of 12

0QS034Z
0QS044z

0QS04ZzZ
0QS0XZZ
0981042
0QS102Z
0QS134z
0QS144z

0QS142z
0QS1XZz
0Qsso4z
0QSS02Z
0QSS34z
0QSS32ZZ
0QSS44z

0QSS42Z
O0QSSXZZ
OR530ZZ
OR550ZZ
OR590ZZ
OR5B02Z
ORBOOZZ
ORBO3ZZ
ORBO4zz
ORB10ZZ
ORB132ZZ
ORB142Z
ORB30ZZ
ORB33ZZ
ORB342Z
ORB402z
ORB432Z
ORB442Z

ORBS502Z
ORB5322Z
ORB5422Z

ORB60ZZ
ORB63ZZ
ORB642Z2
ORB902ZZ
ORB932Z
ORB942ZZ

Reposition Lumbar Vertebra with Internal Fixation Device, Percutaneous
Approach

Reposition Lumbar Vertebra with Internal Fixation Device, Percutaneous
Endoscopic Approach

Reposition Lumbar Vertebra, Percutaneous Endoscopic Approach
Reposition Lumbar Vertebra, External Approach

Reposition Sacrum with Internal Fixation Device, Open Approach
Reposition Sacrum, Open Approach

Reposition Sacrum with Internal Fixation Device, Percutaneous Approach

Reposition Sacrum with Internal Fixation Device, Percutaneous
Endoscopic Approach

Reposition Sacrum, Percutaneous Endoscopic Approach

Reposition Sacrum, External Approach

Reposition Coccyx with Internal Fixation Device, Open Approach
Reposition Coccyx, Open Approach

Reposition Coccyx with Internal Fixation Device, Percutaneous Approach
Reposition Coccyx, Percutaneous Approach

Reposition Coccyx with Internal Fixation Device, Percutaneous Endoscopic
Approach

Reposition Coccyx, Percutaneous Endoscopic Approach

Reposition Coccyx, External Approach

Destruction of Cervical Vertebral Disc, Open Approach

Destruction of Cervicothoracic Vertebral Disc, Open Approach
Destruction of Thoracic Vertebral Disc, Open Approach

Destruction of Thoracolumbar Vertebral Disc, Open Approach

Excision of Occipital-cervicail Joint, Open Approach

Excision of Occipital-cervical Joint, Percutaneous Approach

Excision of Occipital-cervical Joint, Percutaneous Endoscopic Approach
Excision of Cervical Vertebral Joint, Open Approach

Excision of Cervical Vertebral Joint, Percutaneous Approach

Excision of Cervical Vertebral Joint, Percutaneous Endoscopic Approach
Excision of Cervical Vertebral Disc, Open Approach

Excision of Cervical Vertebral Disc, Percutaneous Approach

Excision of Cervical Vertebral Disc, Percutaneous Endoscopic Approach
Excision of Cervicothoracic Vertebral Joint, Open Approach

Excision of Cervicothoracic Vertebral Joint, Percutaneous Approach

Excision of Cervicothoracic Vertebral Joint, Percutaneous Endoscopic
Approach

Excision of Cervicothoracic Vertebral Disc, Open Approach
Excision of Cervicothoracic Vertebral Disc, Percutaneous Approach

Excision of Cervicothoracic Vertebral Disc, Percutaneous Endoscopic
Approach

Excision of Thoracic Vertebral Joint, Open Approach

Excision of Thoracic Vertebral Joint, Percutaneous Approach

Excision of Thoracic Vertebral Joint, Percutaneous Endoscopic Approach
Excision of Thoracic Vertebral Disc, Open Approach

Excision of Thoracic Vertebral Disc, Percutaneous Approach

Excision of Thoracic Vertebral Disc, Percutaneous Endoscopic Approach

 
Case 4:16-cv-00052-RSB-CLR Document 66-11 Filed 12/07/16 Page 8 of 12

ORBAOZZ
ORBA3ZZ
ORBA42Z2Z

ORBBOZZ
ORBB3ZZ
ORBB42ZZ

GRHOOBZ

ORHOOCZ

ORHOODZ

ORHO3BZ

ORHO3CZ

ORHO3DZ

GRHO4BZ

ORHO4CZ

ORHO4D2Z

ORHi0BZ

ORH10C2Z

ORH10DZ

ORH13BZ

ORH13CZ

ORH13DZ

ORH14BZ

ORH14CzZ

ORH14DZ

ORH40BZ

ORH40CZ

ORH40DZ

Excision of Thoracolumbar Vertebral Joint, Open Approach
Excision of Thoracolumbar Vertebral Joint, Percutaneous Approach

Excision of Thoracolumbar Vertebral Joint, Percutaneous Endoscopic
Approach

Excision of Thoracolumbar Vertebral Disc, Open Approach
Excision of Thoracolumbar Vertebral Disc, Percutaneous Approach

Excision of Thoracolumbar Vertebral Disc, Percutaneaus Endoscopic
Approach

Insertion of Interspinous Process Spinal Stabilization Device into
Occipital-cervical Joint, Open Approach

Insertion of Pedicle-Based Spinal Stabilization Device into Occipital-
cervical Joint, Open Approach

Insertion of Facet Replacement Spinal Stabilization Device into Occipital-
cervical Joint, Open Approach

Insertion of Interspinous Process Spinal Stabilization Device into
Occipital-cervical Joint, Percutaneous Approach

Insertion of Pedicle-Based Spinal Stabilization Device into Occipital-
cervical Joint, Percutaneous Approach

Insertion of Facet Replacement Spinal Stabilization Device into Occipital-
cervical Joint, Percutaneous Approach

Insertion of Interspinous Process Spinal Stabilization Device into
Occipital-cervical Joint, Percutaneous Endoscopic Approach
Insertion of Pedicle-Based Spinal Stabilization Device into Occipital-
cervical Joint, Percutaneous Endoscopic Approach

Insertion of Facet Replacement Spinal Stabilization Device into Occipital-
cervical Joint, Percutaneous Endoscopic Approach

Insertion of Interspinous Process Spinal Stabilization Device into Cervical
Vertebral Joint, Open Approach

Insertion of Pedicle-Based Spinal Stabilization Device into Cervical
Vertebral Joint, Open Approach

Insertion of Facet Replacement Spinal Stabilization Device into Cervical
Vertebral Joint, Open Approach

Insertion of Interspinous Process Spinal Stabilization Device into Cervical
Vertebral Joint, Percutaneous Approach

Insertion of Pedicle-Based Spinal Stabilization Device into Cervical
Vertebral Joint, Percutaneous Approach

Insertion of Facet Replacement Spinal Stabilization Device into Cervical
Vertebral Joint, Percutaneous Approach

Insertion of Interspinous Process Spinal Stabilization Device into Cervical
Vertebral Joint, Percutaneous Endoscopic Approach

Insertion of Pedicle-Based Spinal Stabilization Device into Cervical
Vertebral Joint, Percutaneous Endoscopic Approach

Insertion of Facet Replacement Spinal Stabilization Device into Cervical
Vertebral Joint, Percutaneous Endoscopic Approach

Insertion of Interspinous Process Spinal Stabilization Device into
Cervicothoracic Vertebral Joint, Open Approach

Insertion of Pedicle-Based Spinal Stabilization Device into Cervicothoracic
Vertebral Joint, Open Approach

Insertion of Facet Replacement Spinal Stabilization Device into
Cervicothoracic Vertebral Joint, Open Approach

 
Case 4:16-cv-00052-RSB-CLR Document 66-11 Filed 12/07/16 Page 9 of 12

ORH43BZ
ORH43CzZ
ORH43DZ
ORH44BZ
ORH44CZ
ORH44DZ
ORH60BZ
ORH6OCZ
ORHG60DZ
ORH63BZ
ORH63CZ
ORH63DZ
ORH64BZ
ORH64CZ
ORH64DZ
ORHAOBZ
ORHAOCZ
ORHAODZ
ORHA3BZ
ORHA3CZ
ORHASDZ
ORHA4BZ
ORHA4CZ
ORHA4DZ

ORQ30ZZ
O0RQ90ZZ
ORQBOZZ

Insertion of Interspinous Process Spinal Stabilization Device into
Cervicothoracic Vertebral Joint, Percutaneous Approach

Insertion of Pedicle-Based Spinal Stabilization Device into Cervicothoracic
Vertebral Joint, Percutaneous Approach

Insertion of Facet Replacement Spinal Stabilization Device into
Cervicothoracic Vertebral Joint, Percutaneous Approach

Insertion of Interspinous Process Spinal Stabilization Device into
Cervicothoracic Vertebral Joint, Percutaneous Endoscopic Approach

Insertion of Pedicle-Based Spinal Stabilization Device into Cervicothoracic
Vertebral Joint, Percutaneous Endoscopic Approach

Insertion of Facet Replacement Spinal Stabilization Device into
Cervicothoracic Vertebral Joint, Percutaneous Endoscopic Approach

Insertion of Interspinous Process Spinal Stabilization Device into Thoracic
Vertebral Joint, Open Approach

Insertion of Pedicle-Based Spinal Stabilization Device into Thoracic
Vertebral Joint, Open Approach

Insertion of Facet Replacement Spinal Stabilization Device into Thoracic
Vertebral Joint, Open Approach

Insertion of Interspinous Process Spinal Stabilization Device into Thoracic
Vertebral Joint, Percutaneous Approach

Insertion of Pedicle-Based Spinal Stabilization Device into Thoracic
Vertebral Joint, Percutaneous Approach

Insertion of Facet Replacement Spinal Stabilization Device into Thoracic
Vertebral Joint, Percutaneous Approach

Insertion of Interspinous Process Spinal Stabilization Device into Thoracic
Vertebral Joint, Percutaneous Endoscopic Approach

Insertion of Pedicle-Based Spinal Stabilization Device into Thoracic
Vertebral Joint, Percutaneous Endoscopic Approach

Insertion of Facet Replacement Spinal Stabilization Device into Thoracic
Vertebral Joint, Percutaneous Endoscopic Approach

Insertion of Interspinous Process Spinal Stabilization Device into
Thoracolumbar Vertebral Joint, Open Approach

Insertion of Pedicle-Based Spinal Stabilization Device into Thoracolumbar
Vertebral Joint, Open Approach

Insertion of Facet Replacement Spinal Stabilization Device into
Thoracolumbar Vertebral Joint, Open Approach

Insertion of Interspinous Process Spinal Stabilization Device into
Thoracolumbar Vertebral Joint, Percutaneous Approach

Insertion of Pedicle-Based Spinal Stabilization Device into Thoracolumbar
Vertebral Joint, Percutaneous Approach

Insertion of Facet Replacement Spinal Stabilization Device into
Thoracolumbar Vertebrai Joint, Percutaneous Approach

Insertion of Interspinous Process Spinal Stabilization Device into
Thoracoiumbar Vertebral Joint, Percutaneous Endoscopic Approach

Insertion of Pedicle-Based Spinal Stabilization Device into Thoracolumbar
Vertebral Joint, Percutaneous Endoscopic Approach

Insertion of Facet Replacement Spinal Stabilization Device into
Thoracolumbar Vertebral Joint, Percutaneous Endoscopic Approach

Repair Cervical Vertebral Disc, Open Approach
Repair Thoracic Vertebral Disc, Open Approach
Repair Thoracolumbar Vertebral Disc, Open Approach

 
Case 4:16-cv-00052-RSB-CLR Document 66-11 Filed 12/07/16 Page 10 of 12

ORR30I3Z

ORRS5OJZ

ORR9OIZ

ORRBOJZ

ORT302ZZ
ORT40ZZ
ORTS502ZZ
ORT902Z
ORTBGZZ
ORUOOCIZ

ORUO3IZ

GRUOG4IZ

ORU10IZ

ORU1332Z

ORU1432Z

ORU3072Z

ORU30IZ

ORUSOKZ

ORU337Z

ORU33IZ

ORU33KZ

ORU3472Z

ORU34IZ

ORU34KZ

ORU40IJZ

ORU43IZ

ORU44IZ

ORUS503Z

Replacement of Cervical Vertebral Disc with Synthetic Substitute, Open
Approach

Replacement of Cervicothoracic Vertebral Disc with Synthetic Substitute,
Open Approach

Replacement of Thoracic Vertebral Disc with Synthetic Substitute, Open
Approach

Replacement of Thoracolumbar Vertebral Disc with Synthetic Substitute,
Open Approach

Resection of Cervicai Vertebral Disc, Open Approach
Resection of Cervicothoracic Vertebral Joint, Open Approach
Resection of Cervicothoracic Vertebral Disc, Open Approach
Resection of Thoracic Vertebral Disc, Open Approach
Resection of Thoracolumbar Vertebral Disc, Open Approach

Supplement Occipital-cervical Joint with Synthetic Substitute, Open
Approach

Supplement Occipital-cervical Joint with Synthetic Substitute,
Percutaneous Approach

Supplement Occipital-cervical Joint with Synthetic Substitute,
Percutaneous Endoscopic Approach

Supplement Cervical Vertebral Joint with Synthetic Substitute, Open
Approach

Supplement Cervical Vertebral Joint with Synthetic Substitute,
Percutaneous Approach

Supplement Cervical Vertebral Joint with Synthetic Substitute,
Percutaneous Endoscopic Approach

Supplement Cervical Vertebral Disc with Autologous Tissue Substitute,
Open Approach

Supplement Cervical Vertebral Disc with Synthetic Substitute, Open
Approach

Supplement Cervical Vertebral Disc with Nonautologous Tissue
Substitute, Open Approach

Supplement Cervical Vertebral Disc with Autologous Tissue Substitute,
Percutaneous Approach

Supplement Cervical Vertebral Disc with Synthetic Substitute,
Percutaneous Approach

Supplement Cervical Vertebral Disc with Nonautologous Tissue
Substitute, Percutaneous Approach

Supplement Cervical Vertebral Disc with Autologous Tissue Substitute,
Percutaneous Endoscopic Approach

Supplement Cervical Vertebral Disc with Synthetic Substitute,
Percutaneous Endoscopic Approach

Supplement Cervical Vertebral Disc with Nonautologous Tissue
Substitute, Percutaneous Endoscopic Approach

Supplement Cervicothoracic Vertebral Joint with Synthetic Substitute,
Open Approach

Supplement Cervicothoracic Vertebral Joint with Synthetic Substitute,
Percutaneous Approach

Supplement Cervicothoracic Vertebral Joint with Synthetic Substitute,
Percutaneous Endoscopic Approach

Supplement Cervicothoracic Vertebral Disc with Synthetic Substitute,

 
Case 4:16-cv-00052-RSB-CLR Document 66-11 Filed 12/07/16 Page 11 of 12

ORU53I1Z

ORU54IZ

ORUG6OIZ

ORU63IZ

ORUG64IZ

ORUSO07Z

ORUSOIZ

ORUSOKZ

ORU937Z

ORUS3IZ

ORUS3KZ

ORU947Z

ORU943Z

ORUS4KZ

ORUAOIZ

ORUA3IZ

ORUA4IZ

ORUBO7Z

ORUBOIZ

ORUBOKZ

ORUB37Z

ORUB3IZ

ORUB3SKZ

ORUB47Z

ORUB4IJZ

Open Approach

Supplement Cervicothoracic Vertebral Disc with Synthetic Substitute,
Percutaneous Approach

Supplement Cervicothoracic Vertebral Disc with Synthetic Substitute,
Percutaneous Endoscopic Approach

Supplement Thoracic Vertebrai Joint with Synthetic Substitute, Open
Approach

Supplement Thoracic Vertebral Joint with Synthetic Substitute,
Percutaneous Approach

Supplement Thoracic Vertebral Joint with Synthetic Substitute,
Percutaneous Endoscopic Approach

Supplement Thoracic Vertebral Disc with Autologous Tissue Substitute,
Open Approach

Supplement Thoracic Vertebral Disc with Synthetic Substitute, Open
Approach

Supplement Thoracic Vertebral Disc with Nonautologous Tissue
Substitute, Open Approach

Supplement Thoracic Vertebrai Disc with Autologous Tissue Substitute,
Percutaneous Approach

Supplement Thoracic Vertebral Disc with Synthetic Substitute,
Percutaneous Approach

Supplement Thoracic Vertebral Disc with Nonautologous Tissue
Substitute, Percutaneous Approach

Supplement Thoracic Vertebral Disc with Autologous Tissue Substitute,
Percutaneous Endoscopic Approach

Supplement Thoracic Vertebral Disc with Synthetic Substitute,
Percutaneous Endoscopic Approach

Supplement Thoracic Vertebral Disc with Nonautologous Tissue
Substitute, Percutaneous Endoscopic Approach

Supplement Thoracolumbar Vertebral Joint with Synthetic Substitute,
Open Approach

Supplement Thoracolumbar Vertebral Joint with Synthetic Substitute,
Percutaneous Approach

Supplement Thoracolumbar Vertebral Joint with Synthetic Substitute,
Percutaneous Endoscopic Approach

Supplement Thoracolumbar Vertebral Disc with Autologous Tissue
Substitute, Open Approach

Supplement Thoracolumbar Vertebral Disc with Synthetic Substitute,
Open Approach

Supplement Thoracolumbar Vertebral Disc with Nonautologous Tissue
Substitute, Open Approach

Supplement Thoracolumbar Vertebral Disc with Autologous Tissue
Substitute, Percutaneous Approach

Supplement Thoracolumbar Vertebral Disc with Synthetic Substitute,
Percutaneous Approach

Supplement Thoracoiumbar Vertebral Disc with Nonautologous Tissue
Substitute, Percutaneous Approach

Supplement Thoracolumbar Vertebral Disc with Autologous Tissue
Substitute, Percutaneous Endoscopic Approach

Supplement Thoracolumbar Vertebral Disc with Synthetic Substitute,
Percutaneous Endoscopic Approach

 
Case 4
ORUB4KZ

ORW30I2Z

ORW33IZ

ORW34IZ

ORW50IZ

ORW53IZ

ORW54I2Z

ORW90IZ

ORW9332Z

ORW94IZ

ORWBOJZ

ORWB3IZ

ORWB4IZ

0852022
0S5232ZZ
0S5242Z
0S5402Z
0S5432Z
0854422
OSB00ZZ
OSB032Z
OSB042Z2Z
OSB202ZZ
OSB232Z
0SB242Z
OSB302ZZ
OSB33ZZ

:16-cv-00052-RSB-CLR Document 66-11 Filed 12/07/16 Page 12 of 12

Supplement Thoracolumbar Vertebral Disc with Nonautclogous Tissue
Substitute, Percutaneous Endoscopic Approach

Revision of Synthetic Substitute in Cervical Vertebral Disc, Open
Approach

Revision of Synthetic Substitute in Cervical Vertebral Disc, Percutaneous
Approach

Revision of Synthetic Substitute in Cervical Vertebral Disc, Percutaneous
Endoscopic Approach

Revision of Synthetic Substitute in Cervicothoracic Vertebral Disc, Open
Approach

Revision of Synthetic Substitute in Cervicothoracic Vertebral Disc,
Percutaneous Approach

Revision of Synthetic Substitute in Cervicothoracic Vertebral Disc,
Percutaneous Endoscopic Approach

Revision of Synthetic Substitute in Thoracic Vertebral Disc, Open
Approach

Revision of Synthetic Substitute in Thoracic Vertebral Disc, Percutaneous
Approach

Revision of Synthetic Substitute in Thoracic Vertebral Disc, Percutaneous
Endoscopic Approach

Revision of Synthetic Substitute in Thoracolumbar Vertebral Disc, Open
Approach

Revision of Synthetic Substitute in Thoracolumbar Vertebral Disc,
Percutaneous Approach

Revision of Synthetic Substitute in Thoracolumbar Vertebral Disc,
Percutaneous Endoscopic Approach

Destruction of Lumbar Vertebral Disc, Cpen Approach

Destruction of Lumbar Vertebral Disc, Percutaneous Approach
Destruction of Lumbar Vertebral! Disc, Percutaneous Endoscopic Approach
Destruction of Lumbosacral! Disc, Open Approach

Destruction of Lumbosacrai Disc, Percutaneous Approach

Destruction of Lumbosacral Disc, Percutaneous Endoscopic Approach
Excision of Lumbar Vertebral Joint, Open Approach

Excision of Lumbar Vertebral Joint, Percutaneous Approach

Excision of Lumbar Vertebral Joint, Percutaneous Endoscopic Approach
Excision of Lumbar Vertebral Disc, Open Approach

Excision of Lumbar Vertebral Disc, Percutaneous Approach

Excision of Lumbar Vertebral Disc, Percutaneous Endoscopic Approach
Excision of Lumbosacral Joint, Open Approach

Excision of Lumbosacral Joint, Percutaneous Approach

Department of Health & Human Services| Medicare. ov| USA.gov
Web Policies & Important Links |Privacy Policy |Freedom of Information Act |No Fear Act
Centers for Medicare & Medicaid Services, 7500 Security Boulevard Baltimore, MD 21244

 
